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UNITED STATES DISTRICT COURT

 

FOR THE
DISTRICT OF VERMONT
TIFFANY RILEY, ) ee
) ._— Pye.
Plaintiff, )
)
Vv. ) Case No. 5:20-cv-108
)
WINDSOR SOUTHEAST SUPERVISORY _ )
UNION et al, )
)
Defendants. )

SCHEDULING ORDER

Following a hearing on plaintiff's motion for hearing on declaratory judgment claim

(Doc. 34), the court orders as follows:

1.

2s

Defendants shall file answers within 14 days.

Plaintiff's counsel explained at the hearing that he will file a motion for partial summary
judgment seeking a ruling that defendants terminated Plaintiff’s employment with the
Windsor Southeast Supervisory Union on or about June 12, 2020. He will file the
motion within 30 days.

Defendants have 60 days to prepare a response, including discovery directed at issues
raised by the motion.

Counsel will confer separately about the scope of other discovery required in this case
and will submit a proposed discovery order within 30 days.

The plan to proceed with a summary judgment motion moots out the motion for hearing
on declaratory judgment claim. The motion is DENIED as moot.

Dated at Rutland, in the District of Vermont, this 4" day of November, 2020.

Geoffrey W. Crawford, Chief Judge
United States District Court
